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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     10/16/2020


TAMMY L. GREEN,

                                            Plaintiff,                15-CV-08204 (ALC)(SN)

                          -against-                                            ORDER

NEW YORK CITY TRANSIT AUTHORITY et al.,

                                            Defendants.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        In light of Judge Carter’s recent opinion granting partial summary judgment in this case,

the parties may contact Courtroom Deputy Rachel Slusher at rachel_slusher@nysd.uscourts.gov

to schedule a settlement conference, if they believe it would be productive at this time. Given the

Court’s busy calendar, settlement conferences must generally be scheduled at least six to eight

weeks in advance. The Court will likely be unable to accommodate last-minute requests for

settlement conferences, and the parties should not anticipate that litigation deadlines will be

adjourned in response to late requests for settlement conferences.

SO ORDERED.




DATED:           October 16, 2020
                 New York, New York
